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 1
                                      UNITED STATES DISTRICT COURT
 2
                                   NORTHERN DISTRICT OF CALIFORNIA
 3
 4
 5   UNITED STATES OF AMERICA,
 6                        Plaintiff(s),                             No. CR-05-00651-CW
 7                  v.                                              ORDER VACATING
                                                                    BAIL REVIEW HEARING
 8                                                                  DATE
     KIM DRAGO,
 9
                Defendant(s).
10   ___________________________________/
11
12                  Having been notified by Pretrial Services Officer Allen Lew that the above
13   named defendant has reconsidered and is willing to continue with her treatment at Marin
14   Services for Women, it is hereby ORDERED that the Bail Review Hearing that was set by this
15   Court for Thursday, January 12, 2006 at 10:00 a.m. is VACATED.
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17                  IT IS SO ORDERED.                                                   ERED
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                                                                                   ayne D.
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                                                                            Judge W
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19   Dated: January 11, 2006
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                                                                    _______________________________
21                                                                  WAYNE D. BRAZIL
                                                                    United States Magistrate Judge
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     cc: WDB’s files, Copies to all parties via ECF, Pretrial Services, Sheilah
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26
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28


     cap tion.frm                                         1
